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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

WILLIAM WEBB,

              Plaintiff,                                   Case No. 8:14-cv-00212 EAK TBM
vs.

VANTIUM CAPITAL, INC. d/b/a STRATEGIC
RECOVERY GROUP,

              Defendant
                                                   /

             NOTICE OF NAME CHANGE BY DEFENDANT, VANTIUM
           CAPITAL, INC., F/D/B/A STRATEGIC RECOVERY GROUP, LLC.,
                  N/K/A CLEARSPRING LOAN SERVICES, INC.

       PLEASE TAKE NOTICE that as of July 1, 2014, Defendant Vantium, Capital, Inc., d/b/a

Strategic Recovery Group, LLC., has changed its name to ClearSpring Loan Services, Inc. f/k/a

Vantium Capital, Inc., f/d/b/a Strategic Recovery Group.

                                                s/ Barbara Fernandez
                                                Barbara Fernandez
                                                Florida Bar No. 0493767
                                                bfernandez@hinshawlaw.com
                                                HINSHAW & CULBERTSON LLP
                                                2525 Ponce de Leon Blvd.
                                                4th Floor
                                                Coral Gables, FL 33134
                                                Telephone: 305-358-7747
                                                Facsimile: 305-577-1063
                                                Attorneys for Defendant CLEARSPRING
                                                LOAN SERVICES, LLC, f/k/a VANTIUM
                                                CAPITAL, INC. f/d/b/a STRATEGIC
                                                RECOVERY GROUP




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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 18, 2014, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

the following:


Michael Vitoria, Esq.
Morgan & Morgan, P.A.
201 N. Franklin Street
7th FL
Tampa, FL 33602
Tel: 813-223-5505
Fax: 813-223-5402
MVitoria@forthepeople.com



                                                s/ Barbara Fernandez
                                                Barbara Fernandez
                                                Florida Bar No. 0493767
                                                bfernandez@hinshawlaw.com
                                                HINSHAW & CULBERTSON LLP
                                                2525 Ponce de Leon Blvd.
                                                4th Floor
                                                Coral Gables, FL 33134
                                                Telephone: 305-358-7747
                                                Facsimile: 305-577-1063
                                                Attorneys for Defendant CLEARSPRING
                                                LOAN SERVICES, LLC, f/k/a VANTIUM
                                                CAPITAL, INC. f/d/b/a STRATEGIC
                                                RECOVERY GROUP




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